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 1   KEVIN N. ANDERSON, ESQ.
     Nevada State Bar No. 4512
 2   TREVOR R. WAITE, ESQ.
     Nevada State Bar No. 13779
 3   FabianVanCott
     411 E. Bonneville Ave., Suite 400
 4   Las Vegas, NV 89101
     Telephone:    (702) 233-4444
 5   E-Mail: kanderson@fabianvancott.com
                twaite@fabianvancott.com
 6
     Attorneys for Jeffrey J. Judd
 7                                UNITED STATES DISTRICT COURT
 8                                   FOR THE DISTRICT OF NEVADA

 9   SECURITIES AND EXCHANGE
     COMMISSION,                                       Case No. 2:22-cv-0612-JCM-EJY
10
                    Plaintiff,
11   v.                                              FABIAN VANCOTT’S CERTIFIED
                                                             STATEMENT
12   MATTHEW WADE BEASLEY; BEASLEY
     LAW GROUP PC; JEFFREY J. JUDD;
13   CHRISTOPHER R. HUMPHRIES; J&J
     CONSULTING SERVICES, INC., an Alaska
14   Corporation; J&J CONSULTING SERVICES,
     INC., a Nevada Corporation; J AND J
15   PURCHASING LLC; SHANE M. JAGER;
     JASON M. JONGEWARD; DENNY
16   SEYBERT; and ROLAND TANNER;

17                  Defendants,

18   THE JUDD IRREVOCABLE TRUST; PAJ
     CONSULTING INC; BJ HOLDINGS LLC;
19   STIRLING CONSULTING, L.L.C.; CJ
     INVESTMENTS, LLC; JL2 INVESTMENTS,
20   LLC; ROCKING HORSE PROPERTIES, LLC;
     TRIPLE THREAT BASKETBALL, LLC;
21   ACAC LLC; ANTHONY MICHAEL
     ALBERTO, JR.; and MONTY CREW LLC;
22
                    Relief Defendants.
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 1             Pursuant to paragraph 17C of the Order Appointing Receiver entered June 3, 2022

 2   without a hearing (the “Receiver Order”),1 non-party Fabian & Clendenin, P.C. d/b/a Fabian

 3   VanCott hereby makes the following certified statement setting forth, with respect to each such

 4   account or other asset, the balance in the account or description of the assets as of the close of

 5   business on the date of receipt of the notice:

 6             1.      On June 3, 2022, Mr. Anderson, a shareholder at Fabian VanCott, received a copy

 7   of the Receiver Order via ECF Notice on June 3, 2022 and via email on June 7, 2022 from

 8   proposed Attorneys for Geoff Winkler, Receiver for J&J Consulting Services, Inc., J&J

 9   Consulting Services, Inc., J and J Purchasing LLC, The Judd Irrevocable Trust, and BJ Holdings

10   LLC;2

11             2.      As previously disclosed to the Receiver, Fabian VanCott’s Interest On Lawyers’

12   Trust Account (“Fabian VanCott’s IOLTA”) holds $750,000.00 in trust as an initial cash

13   deposit that was a reasonable estimate of the value of legal services that are anticipated to be

14   rendered and costs that are anticipated in the representation of Mr. Judd in various litigation in

15   state, federal, and bankruptcy courts in Nevada, including the above-captioned matter;

16             3.      The entire amount of $750,000.00 has remained in Fabian VanCott’s IOLTA

17   1
         “A receiver must not be appointed except after hearing[.]” LR 66-2.
     2
18     Receipt of the Receiver Order via ECF Notice on June 3, 2022 and June 7, 2022 emails to Mr. Anderson
     is inadequate to provide to Fabian VanCott with actual notice as required by the Receiver Order, and
     Fed. R. Civ. P. 4(n), 5(a)(3). Attorneys purporting to represent Mr. Winkler as the Receiver sent these
19   emails to Mr. Anderson and Mr. Winkler was carbon copied. Fabian VanCott notes that the Court has not
     yet entered an order authorizing their retention and that on June 7, 2022, these attorneys had not yet
20   complied with paragraph 60 of the Receiver Order or Local Rule 66-6, which provides “[a] receiver must
     not employ an attorney, accountant, or investigator without first obtaining a court order authorizing the
21   employment.” Fabian VanCott understands that these attorneys filed Court-Appointed Receiver Geoff
     Winkler’s Motion for Order Authorizing Receiver to Employ Counsel (the “Motion to Employ”) on June
22   10, 2022, after they had entered an appearance in the Bankruptcy Cases on June 10, 2022 purporting to
     represent Mr. Winkler as Receiver for the Debtors. Fabian VanCott is unaware of these attorneys filing
23   any applications for employment with the Bankruptcy Court to date. Judd and Fabian VanCott reserve all
     rights with respect to the Motion to Employ and any requested compensation of these attorneys for work
     performed prior to the entry of any order by this Court authorizing their employment.
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 1   since Judd retained Fabian VanCott to represent him in various litigation in state, federal, and

 2   bankruptcy courts in Nevada, which occurred prior to the SEC filing the complaint in the above-

 3   captioned case;

 4          4.      Nevada statutory law gives this firm a perfected lien on a client’s property in the

 5   possession of the attorney for the value of the services which the attorney has rendered for the

 6   client.3 See, e.g., Fredianelli v. Fine Carman Price, 133 Nev. 586, 589, 402 P.3d 1254, 1256

 7   (2017) (quoting NRS 18.015(4)(b)). In addition, Fabian VanCott has contractual rights to use the

 8   amount held in trust to pay for services rendered and to be rendered.

 9          DATED this 10th day of June, 2022.

10
                                                    /s/ P. Bruce Badger
11                                                  P. BRUCE BADGER, ESQ.
                                                    Utah State Bar No. 4791
12                                                  FabianVanCott
                                                    215 S. State Street, Suite 1200
13                                                  Salt Lake City, UT 84101
                                                    Telephone:     (801) 531-8900
14                                                  E-Mail: bbadger@fabianvancott.com
                                                    General Counsel for Fabian VanCott
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       On May 26, 2022 Fabian VanCott disclosed to counsel for the SEC that it had incurred fees of
23   $250,842.50 (as of April 30, 2022), and estimated another $60,000 for fees incurred in May 2022. Fabian
     VanCott further disclosed it had incurred costs in the amount of $16,667.37, as of April 30, 2022. This
     information was forwarded to the receiver on June 5, 2022.
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 1                                    CERTIFICATE OF MAILING

 2          I HEREBY CERTIFY that on the 10th day of June, 2022, I caused a copy of the

 3   foregoing to be served to all those entitled to receive notice via ECF along with the following via

 4   e-mail, as required by paragraph 17 of the Receiver Order:

 5                 Via E-mail

                   Tracy S. Combs, Esq.
 6
                   combst@sec.gov
                   Casey R. Fronk, Esq.
 7                 FronkC@sec.gov
                   Counsel for Plaintiff Securities and Exchange Commission
 8

 9                 Geoffrey B. Winkler JD, MBA, CFE, CIRA
                   geoff@americanfiduciaryservices.com
10                 Geoff Winkler, Receiver

11
                   Kara B. Hendricks, Esq.
                   hendricksk@gtlaw.com
12                 Kyle A. Ewing, Esq.
                   ewingk@gtlaw.com
13                 Joshua A. del Castillo, Esq.
                   jdelcastillo@allenmatkins.com
14                 David R. Zaro, Esq.
                   dzaro@allenmatkins.com
15                 Matthew D. Pham, Esq.
                   mpham@allenmatkins.com
16                 Karine Akopchikyan, Esq.
                   kakopchikyan@allenmakins.com
                   Proposed Attorneys for Geoff Winkler, Receiver for
17
                   J&J Consulting Services, Inc., J&J Consulting Services, Inc., J and
                   J Purchasing LLC, The Judd Irrevocable Trust, and BJ Holdings
18                 LLC

19          DATED this 10th day of June, 2022.
20
                                                    /s/ Kevin N. Anderson
21                                                  KEVIN N. ANDERSON, ESQ.
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